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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                )
and THE STATE OF OKLAHOMA,               )
ex rel. WAYNE ALLISON, Relator,          )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )      Case No. CIV-16-569-F
                                         )
SOUTHWEST ORTHOPAEDIC                    )
SPECIALISTS, PLLC, et al.,               )
                                         )
      Defendants.                        )

                                        ORDER

      Before the Court is the Unopposed Joint Motion for Three-Month Stay filed by

Defendants Oklahoma Center for Orthopaedic & Multispecialty Surgery, LLC, USP

Oklahoma, Inc., USPI Holding Company, Inc., USP International, Inc., and UAP of

Oklahoma, LLC (“USP Defendants”), Tenet Healthcare Corporation (“Tenet”), Southwest

Orthopaedic Specialists, PLLC, Anesthesia Partners of Oklahoma, LLC, Anthony L.

Cruse, D.O., R.J. Langerman, Jr., D.O., Daniel J. Jones, M.D., Mehdi Adham, M.D., Derek

West, D.O., Brian Levings, D.O., Brad Reddick, D.O., Kristopher Avant, D.O., and Shane

Hume, D.O. (collectively, the “SOS Defendants”), and Plaintiff/Relator Wayne Allison

(“Relator”) (together, “the Movants”) (the “Motion”) [Doc. No. 175]. For good cause

shown, the Motion is GRANTED.

      The Movants shall be provided a period of three months, or until March 11, 2020,

so that the Movants may finalize any tentative resolutions and continue conferring in good
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faith with the United States and State of Oklahoma regarding potential resolution of the

remaining claims and issues involving all of the parties.

        On or before March 11, 2020, the Movants shall announce a resolution to the Court,

if one has been reached. If no resolution has been reached at that time, the SOS Defendants

shall either file a Motion to Enforce the settlement agreement that the SOS Defendants

contend exists or file a Response to Relator’s Second Amended Complaint.

        IT IS SO ORDERED this 12th day of December, 2019.




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